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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



PRESIDENT AND FELLOWS OF HARVARD                             )
COLLEGE,                                                     )
                                                             ) Case No.: 1:25-cv-11048-ADB
       Plaintiffs,                                           ) [Assigned to the
                                                             ) Honorable Judge Burroughs]
                                                             )
v.                                                           )
                                                             )
UNITED STATES DEPARTMENT OF                                  )
HEALTH AND HUMAN SERVICES, et al.,                           )
                                                             )
       Defendants.                                           )




                         MOTION FOR ADMISSION PRO HAC VICE

       I, Rachel L. Weber, am a member in good standing of the bar of this Court and the

attorney of record for Amicus Curiae A Jewish Voice for Peace in this case. My bar number is

674057. Pursuant to Local Rule 83.5.3, I am moving for the admission of Bina Ahmad to appear

pro hac vice in this case as counsel for A Jewish Voice for Peace. Ms. Ahmad is a member of the

bars of California, New York, and the District of Columbia. I have verified that Ms. Ahmad is a

member in good standing of the bars to which she is admitted, that she does not face any pending

disciplinary proceedings, and that she is familiar with local rules of practice. Her Rule 83.5.3

(e)(3) signed certification is attached to this motion.
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       WHEREFORE, it is respectfully requested that this Court enter an Order specially

admitting Bina Ahmad as co-counsel for Amicus Curiae A Jewish Voice for Peace in the above-

captioned case.


                                           Respectfully submitted,

                                           ____________________________
                                           Rachel Weber
                                           BBO# 674057
                                           Law Office of Rachel Weber
                                           P.O. Box 1565
                                           Northampton, MA 01061
                                           413-325-5431
                                           rweber@rweberlaw.com
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                              CERTIFICATE OF SERVICE

        I, Rachel Weber, hereby certify that on this 6th day of June 2025, this Motion for
Admission Pro Hac Vice was served electronically to all parties via the CM/ECF system which
will forward copies to all Counsels of Record.


___________________
Rachel Weber
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD                      Case No.: 1:25-cv-11048-ADB
 COLLEGE,
                                                       [Assigned to the Honorable Judge Burroughs]
                       Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

                      Defendants.



                            CERTIFICATE OF BINA AHMAD
       I, Bina Ahmad, make the following declaration in support of the motion for admission
pro hac vice filed on my behalf:
   1. I am an associate attorney with the law firm HADSELL STORMER RENICK & DAI
       LLP. My office is located at 128 N. Fair Oaks Ave., Pasadena, CA 91103
   2. I am a member in good standing and active member of the bars of the State of California,
       New York and the District of Columbia.
   3. I am not under suspension or disbarment by any court, nor the subject of any pending
       disciplinary proceeding.
   4. I have not previously had pro hac vice admission to the U.S. District Court for the
       District of Massachusetts, or other admission for limited purpose under Local Rule
       83.5.3, revoked for misconduct.
   5. I am familiar with and agree to comply with the Local Rules of this Court.


I hereby certify under penalty of perjury that the foregoing is true and correct.


Dated: June 6, 2025                           Respectfully submitted
                                              /s/ Bina Ahmad
                                              Bina Ahmad
                                              HADSELL STORMER RENICK & DAI LLP
                                              128 N. Fair Oaks Ave.
                                              Pasadena, CA 91103
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